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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                         CASE NO. 18-24100-CIV-COOKE/GOODMAN




   DIGNA VINAS,

         Plaintiff,

   v.

   THE INDEPENDENT ORDER OF FORESTERS,

         Defendant.
   __________________________________________/

               POST-DISCOVERY HEARING ADMINISTRATIVE ORDER

         On November 18, 2020, the Undersigned held a telephone conference hearing on

   the parties’ discovery disputes. [ECF Nos. 113; 118]. At the hearing, the Undersigned

   ordered as follows:

         The Undersigned is not going to require Defendant to submit its attorneys’ billing

   records to Plaintiff at this time. However, in order to make the mediation more

   meaningful, by November 23, 2020, Defendant shall produce to Plaintiff an affidavit or

   declaration stating the following: the amount of fees which defense counsel’s firm billed

   in this matter, up to and including today; the number of hours billed (broken down on a

   timekeeper-by-timekeeper basis, including paralegals); and the billing rate for each
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   timekeeper.

         DONE AND ORDERED in Chambers, in Miami, Florida, on November 18, 2020.




   Copies furnished to:
   The Honorable Marcia G. Cooke
   All counsel of record




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